     Case 4:21-cr-00095-LGW-BWC Document 3 Filed 05/06/21 Page 1 of 6




                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                             SAVANNAH DIVISION
                                                               C R421 ■
UNITED STATES OF AMERICA                       INDICTMENT NO.


             V.                                18 U.S.C. § 922(g)(1)
                                               Possession of a Firearm by a
EDWARD GILL SIKES                              Prohibited Person


                                               18 U.S.C. § 922(o)
                                               Illegal Possession of a Machine
                                               Gun


THE GRAND JURY CHARGES THAT:

                                   COUNT ONE
                  Possession of a Firearm by a Prohibited Person
                               18 U.S.C. § 922(g)(1)

      On or about August 20, 2019, in Liberty County, within the Southern District

of Georgia, the defendant,

                             EDWARD GILL SIKES,

knowing he had been convicted of a crime punishable by imprisonment for a term

exceeding one year, did knowingly possess, in and affecting commerce, a firearm, to

wit, a M16 Type, 5.56 x 45mm, AR variant, full-automatic rifle.

      All in violation of Title 18, United States Code, Section 922(g)(1).




                                                                    o


                                                                             <yj

                                                                             o
                                                                             CO -^1


                                                                             on

                                                                             o
                                                                             o
                                                                             cz
                                                                             X)
      Case 4:21-cr-00095-LGW-BWC Document 3 Filed 05/06/21 Page 2 of 6




                                    COUNT TWO
                         Illegal Possession of a Machine Gun
                                   18 U.S.C. § 922(0)

       On or about August 20, 2019, in Liberty County, within the Southern District

of Georgia, the defendant,

                              EDWARD GILL SIKES,

did knowingly possess a machinegun, that is a M16 Type, 5.56 x 45mm,AR variant,

full-automatic rifle.


       All in violation of Title 18, United States Code, Section 922(o).
     Case 4:21-cr-00095-LGW-BWC Document 3 Filed 05/06/21 Page 3 of 6




                                  COUNT THREE
                  Possession of a Firearm by a Prohibited Person
                               18 U.S.C. § 922(g)(1)

      Up to and including on or about August 21, 2019, in Liberty County, within

the Southern District of Georgia, the defendant,

                             EDWARD GILL SIKES,

knowing he had been convicted of a crime punishable by imprisonment for a term

exceeding one year, did knowingly possess, in and affecting commerce, a firearm, to

wit, a Bushmaster Model XM15-E2S AR-15 style full-automatic rifle, which had been

transported in interstate commerce.

      All in violation of Title 18, United States Code, Section 922(g)(1).
     Case 4:21-cr-00095-LGW-BWC Document 3 Filed 05/06/21 Page 4 of 6




                                  COUNT FOUR
                  Possession of a Firearm by a Prohibited Person
                               18 U.S.C, § 922(g)(1)

      Up to and including on or about August 21, 2019, in Liberty County, within

the Southern District of Georgia, the defendant,

                             EDWARD GILL SIKES,

knowing he had been convicted of a crime punishable by imprisonment for a term

exceeding one year, did knowingly possess, in and affecting commerce, a firearm, to

wit, a M-16 type, 5.56 x 45mm, AR variant, full-automatic rifle.

      All in violation of Title 18, United States Code, Section 922(g)(1).
         Case 4:21-cr-00095-LGW-BWC Document 3 Filed 05/06/21 Page 5 of 6




                                      COUNT FIVE
                           Illegal Possession of Machine Guns
                                     18 U.S.C. § 922(0)

         Up to and including on or about August 21, 2019, in Liberty County, within

the Southern District of Georgia, the defendant,

                                EDWARD GILL SIKES,

did knowingly possess machineguns, that is, a Bushmaster Model XM15-E2S AR-15

style full-automatic rifle and a M-16 type, 5.56 x 45mm, AR variant, full-automatic

rifle.


         All in violation of Title 18, United States Code, Section 922(o).
     Case 4:21-cr-00095-LGW-BWC Document 3 Filed 05/06/21 Page 6 of 6




                         FORFEITURE ALLEGATIONS


      The allegations contained in Counts One through Five of this Indictment are

hereby re-alleged and incorporated by reference for the purpose of alleging forfeitures

pursuant to Title 18, United States Code, Section 924(d) and Title 28, United States

Code, Section 2461(c).

      Upon conviction ofany Count this Indictment, the defendant,EDWARD GILL

SIKES, shall forfeit to the United States pursuant to Title 18, United States Code,

Section 924(d) and Title 28, United States Code, Section 2461(c), any firearm and

ammunition involved in the commission of the offense.


                                                                  /I




David H. Estes
Acting United States Attorney




 Karl I. Knoche
 Assistant United States Attorney
 Chief, Criminal Division




    rcela C. Mateo
    dstant United States Attorney
*Lead Counsel
